Case 2:17-cr-00126-MSD-LRL Document 128 Filed 10/09/18 Page 1 of 19 PageID# 1333



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF VIRGINIA
                                    Norfolk Division



  UNITED STATES OF AMERICA,


  V.                                                      Criminal No.       2zl7crl26


  RAEANN GIBSON,


                Defendant




                                   MEMORANDUM OPINION


        This matter is before the Court on Defendant Raeann Gibson's

  ("Defendant" or "Gibson") motion in limine.                   Mot. in Limine, ECF

  No. 93.    Defendant requests that the Court exclude (1) evidence of

  the   alleged     victims'        ages,    (2)    evidence     of     the     financial

  circumstances of the alleged victims, and (3) evidence of whether

  the   f\mds    that were      invested exhausted all        the     resources   of     the

  alleged victims.         Id.      For the reasons noted below, Defendant's

  motion in limine is DENIED in part and GRANTED in part.

                     I. Factual and Procedural Backgro\ind

        Gibson is charged, along with two codefendants, with one count

  of conspiracy to commit mail and wire fraud,                  five counts of mail

  fraud,    six counts of wire fraud,            one count of conspiracy to sell

  unregistered      securities       and    to   commit    securities        fraud,     five

  counts    of    sale     of     unregistered     securities,        four     counts     of

  securities      fraud,    one    count    of   conspiracy    to     launder monetary

  instruments,     and five counts of unlawful monetary transactions.
Case 2:17-cr-00126-MSD-LRL Document 128 Filed 10/09/18 Page 2 of 19 PageID# 1334
Case 2:17-cr-00126-MSD-LRL Document 128 Filed 10/09/18 Page 3 of 19 PageID# 1335
Case 2:17-cr-00126-MSD-LRL Document 128 Filed 10/09/18 Page 4 of 19 PageID# 1336
Case 2:17-cr-00126-MSD-LRL Document 128 Filed 10/09/18 Page 5 of 19 PageID# 1337
Case 2:17-cr-00126-MSD-LRL Document 128 Filed 10/09/18 Page 6 of 19 PageID# 1338
Case 2:17-cr-00126-MSD-LRL Document 128 Filed 10/09/18 Page 7 of 19 PageID# 1339
Case 2:17-cr-00126-MSD-LRL Document 128 Filed 10/09/18 Page 8 of 19 PageID# 1340
Case 2:17-cr-00126-MSD-LRL Document 128 Filed 10/09/18 Page 9 of 19 PageID# 1341
Case 2:17-cr-00126-MSD-LRL Document 128 Filed 10/09/18 Page 10 of 19 PageID# 1342
Case 2:17-cr-00126-MSD-LRL Document 128 Filed 10/09/18 Page 11 of 19 PageID# 1343
Case 2:17-cr-00126-MSD-LRL Document 128 Filed 10/09/18 Page 12 of 19 PageID# 1344
Case 2:17-cr-00126-MSD-LRL Document 128 Filed 10/09/18 Page 13 of 19 PageID# 1345
Case 2:17-cr-00126-MSD-LRL Document 128 Filed 10/09/18 Page 14 of 19 PageID# 1346
Case 2:17-cr-00126-MSD-LRL Document 128 Filed 10/09/18 Page 15 of 19 PageID# 1347
Case 2:17-cr-00126-MSD-LRL Document 128 Filed 10/09/18 Page 16 of 19 PageID# 1348
Case 2:17-cr-00126-MSD-LRL Document 128 Filed 10/09/18 Page 17 of 19 PageID# 1349
Case 2:17-cr-00126-MSD-LRL Document 128 Filed 10/09/18 Page 18 of 19 PageID# 1350
Case 2:17-cr-00126-MSD-LRL Document 128 Filed 10/09/18 Page 19 of 19 PageID# 1351
